          Case 3:19-cr-02357-GPC Document 58 Filed 07/29/20 PageID.110 Page 1 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case                                                              FILED
                                                                                                                  JUL 3 l 2020
                                         UNITED STATES DISTRICT COL RT
                                              SOUTHERN DISTRICT OF CALIFORNIA                               CLERK U S DISTRICT COURT
                                                                                                         SOUTHERN 0·1sTRICT OF CALIFORNIA
                                                                                                     _   .                          DEPUTY
              UNITED STATES OF AMERICA                                 JUDGMENT IN A C" _.,.                11'.I AT   ,,-., A ~,;:'


                                    V.                                 (For Offenses Committed On or After November 1, 1987)
               RAUL ROSALES-TRUJILLO (1)
                aka Rodolfo Altamerano-Juarez                             Case Number:         3:19-CR-02357-GPC

                                                                       Hector Jesus Tamayo
                                                                       Defendant's Attorney
USM Number                          05162-359

• -
THE DEFENDANT:
IZI pleaded guilty to count(s)             1 of the Information

D     was found guilty on count(s)
      after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section/ Nature of Offense                                                                                                   Count
8:1326(A),(B) - Removed Alien Found In The United States (Felony)                                                                        1




    The defendant is sentenced as provided in pages 2 through                    2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

D     Count(s)                                                    is          dismissed on the motion of the United States.

IZI   Assessment: $100.00 - Waived


•     JVTA Assessment*:$

      *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
IZI   Fine waived               •        Forfeiture pursuant to order filed                                            , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                       Ju)v 29, 2020
                                                                       Date of Imposition of Sentence


                                                                              ~cjj2_
                                                                       HON. GONZALO P. cuiii£0
                                                                       UNITED STATES DISTRICT JUDGE
           Case 3:19-cr-02357-GPC Document 58 Filed 07/29/20 PageID.111 Page 2 of 2
AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

DEFENDANT:                RAUL ROSALES-TRUJILLO (1)                                                Judgment - Page 2 of 2
CASE NUMBER:              3: 19-CR-02357-GPC

                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 26 months as to count 1




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant must surrender to the United States Marshal for this district:
       •     at
                  --------- A.M.                              on
       •     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to
                                --------------                                ----------------
 at - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                  3:19-CR-02357-GPC
